Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 1 of 7
Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 2 of 7
Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 3 of 7
Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 4 of 7
Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 5 of 7
Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 6 of 7
Case 9:22-cr-00009-DWM Document 2 Filed 01/26/22 Page 7 of 7
